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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                               CASE NO. 22-CV-81294-CANNON

   DONALD J. TRUMP,

          Plaintiff,

          v.

   UNITED STATES OF AMERICA,

          Defendant.
                                               /

               [PLAINTIFF’S PROPOSED] JUDICIAL PROTECTIVE ORDER

          Following notice and opportunity to be heard, further to paragraph 19 of the

   Order dated September 15, 2022 [ECF No. 91], and upon review of the parties’

   respective judicial protective orders [ECF Nos. ___and ____], it is hereby

   ORDERED AND ADJUDGED as follows:

          1.      Introduction and Basis for Judicial Protective Order. – The Court’s Order

   appointing the special master [ECF No. 91, ¶ 5] requires the government to provide copies of

   materials seized during the August 8, 2022 execution of a court-authorized search warrant at

   the premises located at 1100 S. Ocean Boulevard, Palm Beach, Florida 33480 (the “Seized

   Materials”) to the Special Master, Plaintiff’s counsel, and certain agents and employees. The

   Seized Materials are evidence in a criminal investigation case, most of whose details are not

   a matter of public record. In addition, the Court’s order [ECF No. 91,¶ 5] requires the Parties

   to prepare logs based on and derived from the Seized Materials that should similarly be

   protected from public disclosure to facilitate the special-master-review process. To preserve
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   the confidentiality of non-public information and protect the special- master-review process,

   the Court enters this Judicial Protective Order.1

          2.      Confidentiality and Non-Disclosure of Seized Materials and Undertakings

   on Exhibit A. – The Seized Materials produced by the government are confidential and

   shall be disclosed to no one other than the Special Master, his law clerks, admitted Plaintiff’s

   counsel of record in this case (“Plaintiff’s Counsel”), staff supporting Plaintiff’s Counsel

   (such as paralegal assistants, secretarial, stenographic, and clerical employees) who are

   working on this case under the direction of Plaintiff’s Counsel and to whom it is necessary

   that the Seized Materials be disclosed for purposes of executing this Court’s orders, and

   vendors approved by the Special Master or this Court for purposes of scanning, hosting,

   reviewing or otherwise processing electronic copies of Seized Materials.

          Plaintiff’s Counsel shall provide the Special Master with the names and job titles of

   any staff who Plaintiff’s Counsel propose to review Seized Materials before Seized Materials

   are shown to such persons and such persons must execute the “Acknowledgment of

   Protective Order” that is attached to this Judicial Protective Order at Exhibit A..

          Vendors who are engaged to scan, host, provide review, or otherwise process the

   electronic copies of the Seized Materials must also sign execute the “Acknowledgment of


   1
    This Judicial Protective Order does not govern Seized Materials with classification
   markings. The government contends that Seized Materials with classification markings
   should not be provided to the Special Master or Plaintiff’s counsel and has pending before
   the United States Court of Appeals for the Eleventh Circuit an application for a stay
   pending appeal. If the Eleventh Circuit stays this Court’s order with respect to documents
   with classification markings, this Judicial Protective Order will govern Seized Materials
   without classification markings. If any classified materials will ultimately be provided to
   Plaintiff’s counsel, then the parties will propose a separate judicial protective order for the
   Court to enter concerning documents with classification markings that is similar to a
   protective order pursuant to Section 3 of the Classified Information Procedures Act, 18
   U.S.C. App. III § 3.
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   Protective Order” that is attached to this Judicial Protective Order at Exhibit A

          3.      Limitations on Use. – Plaintiff’s Counsel, their staff, and any vendors shall

   use Seized Materials exclusively in connection with the above-captioned case and not for any

   other purpose. Nothing herein shall prevent a party from using Seized Materials as exhibits

   to pleadings or otherwise, or from referring to, quoting, or reciting from Seized Materials in

   connection with pleadings or motions filed in the above-captioned case; provided, however,

   that any such Seized Materials be filed under seal or submitted to the Special Master or

   Court for in camera inspection.

          4.      Maintaining Copies of Seized Materials. – Plaintiff’s Counsel, their staff, and

   any vendors to whom the government provides Seized Materials shall maintain any Seized

   Materials produced pursuant to this Judicial Protective Order in a manner reasonably

   intended to preserve and maintain the confidentiality of the materials. Specifically, Plaintiff’s

   Counsel, their staff, and any vendors shall maintain Seized Materials in secure areas or on

   secure networks along with a copy of this Judicial Protective Order. If stored electronically

   on networks not owned by the government, Seized Materials shall be password-protected

   and the network folders in which they are stored shall be walled off from any individuals not

   directly assisting in the above-captioned case.

          5.      Unauthorized Disclosure. – If Plaintiff’s Counsel, their staff, or any vendor

   learns that it has disclosed, inadvertently or otherwise, Seized Materials to a person in a

   circumstance not authorized under this Judicial Protective Order or any unauthorized access

   to Seized Materials otherwise occurs, the disclosing party must immediately (a) notify the

   government in writing of the unauthorized disclosures, (b) use its best efforts to retrieve all

   unauthorized copies of the Seized Materials, (c) inform the person or persons to whom
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   unauthorized disclosures were made of all the terms of this Judicial Protective Order, and (d)

   request such person or persons sign the “Acknowledgment of Protective Order” that is

   attached to this Judicial Protective Order at Exhibit A.

            6.     Violations. – Violations of this Judicial Protective Order shall be punishable

   by contempt of court or any other legally available sanction that the Court deems

   appropriate. All parties to whom Seized Materials are disclosed in accordance with this

   Judicial Protective Order consent and submit to this Court’s jurisdiction for purposes of

   enforcing this order.

            7.     Further Relief. – Nothing in this Judicial Protective Order shall be construed

   as restricting any party from seeking such further relief as may be available under applicable

   law.

            DONE AND ORDERED in Chambers at Fort Pierce, Florida, this               day of

   September 2022.




                                                     AILEEN M. CANNON
                                                     UNITED STATES DISTRICT JUDGE


          cc:    counsel of record
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                                           EXHIBIT A

                  ACKNOWLEDGMENT OF JUDICIAL PROTECTIVE ORDER

             I hereby acknowledge that I received a copy of the Judicial Protective Order

      issued in Donald J. Trump v. United States of America, Case No. 22-CV-81294-

      CANNON (S.D. Fla.), that I read and understand it, and I agree to be bound by its

      terms. I further understand that by signing this Acknowledgment, I subject myself to

      the jurisdiction of the United States District Court for the Southern District of Florida

      for the purpose of enforcing the terms of the Judicial Protective Order and punishing

      any violations thereof.




                                                      ________________________________________
                                                      Name (Printed)
                                                      ________________________________________
                                                      Signature
                                                      ________________________________________
                                                      Street Address

                                                      ________________________________________
                                                      City, State, and Zip Code


                                                      ________________________________________
                                                      Telephone Number


                                                      ________________________________________
                                                      E-Mail Address
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 23, 2022, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

   document is being served this day on all counsel of record via transmission of Notices of

   Electronic Filing generated by CM/ECF.




                                     /s/ Christopher M. Kise
                                     Christopher M. Kise
